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 7                             UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11             Plaintiff,                                Case No. 2:10-CR-00370-KJD-RJJ

12   v.                                                  ORDER

13   ALFRED T. SAPSE and RALPH M.
     CONTI,
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               Defendants.
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17             Presently before the Court is Defendant Ralph M. Conti’s Motion in Limine (#122) seeking to

18   exclude expert testimony until qualifications are established under Daubert v. Merrell Dow Pharms.,

19   509 U.S. 579 (1993). The United States filed a response in opposition (#125) to which Conti replied

20   (#133).

21             It appears that Defendant’s primary argument is that some of the suggested expert testimony

22   to be provided by Government witnesses is not relevant. However, relevance is an issue that is best

23   decided at the time the testimony is offered at trial, based on the foundation laid by the party that

24   called the witness and the factual issues that are disputed based on the counts in the indictment and

25   the testimony of the witnesses, including cross-examination. Of course, before a party may be

26   accepted as an expert by the Court, a foundation for that designation must be provided. Failure to do
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 1   so would result in the Court excluding the expert. However, since Defendant has identified no

 2   particular grievances with the proposed experts, other than the factual and temporal relevance of the

 3   proposed testimony, the Court has nothing to decide. Therefore, the motion is denied without

 4   prejudice.

 5          DATED this 29th day of October 2012.

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                                                  Kent J. Dawson
 9                                                United States District Judge

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